             Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 1 of 17


                                           r
                                           r:-·


                                     D ST ATES DISTRICT COURT
                                               FOR THE
                            EA..~TER.l'l   DISTRICT OF PENNSYLVA.~IA

    ANl\VAUN YOUNG                                        )
                                                          )
           v.                                             )
                                                          )
    BUDDYSCfiADt                                          )               19           2291
           artd                                           )
    JONES CHEMrCALS, INC. a/kla                           )
    JCI JONES CHEMICALS, INC.                             )
                                                   ---·--------------

                                        Notice of Removal                           FILED
                                                                                    MAY 2 3 2019
    To The Uni~ed States District Cottrt
    For The E3'$tern District Of Pennsylvania:                                  ~~~
           The lj)efendants, Buddy Schadt and JCl Jones Chemicals. Inc. (incorrectly identified as

    :Jones ChenU;cals. Inc. d/b/a JCI Jo11es.Chemicals, Inc.), by and through tlu; undersigned counselt

~   hereby files this Notice of Removal of the above-captioned action from the Court of CommQn

    Pleas of Philadelphia County, No. 190500142, where it is now pending. to the United States

    District Couft. for the Eastern District ofPennsylvania. pursuant to 28 U.S~C. §§ 1332, 1441 afid

    1446., and othei; appli~able laws. In support of this removal, the defendant a~ the following:

            1.     Atta~hed as   Exhibit"A" is a copy of the Plairttitf s Complaint in this action,

    which originated in the Court of Common Pleas of Philadelphia County. PA.

           2.      The complaint was file{} on May 6, 2019 as indicated by the date stamp on said

    document.

           'l      the complaint was al.legedly served dn Defendant, Jones Cherncia.Is .a/kla JCT

    Jones Cheniicals. In"C. by certi~~d. mail on or about May 6, 2019.

                                      "
.. l ...., Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 2 of 17




        4.      Defendant. Buddy Schadt~ resides at 77 Mu111oc.k Road. Middletown~ New York

and is a citizen of1.he State of New York.



        5.      Defendant, JCI Jones Chemicals, lne:. is.a New York CorporatiQn with a principle

place of business at 1765 Ringling Botllevard. Sara5ota. Florida. 342J6.

        6.      The Plaintiff is a resident and citi7..en of New Jersey, as averred in 11 of the.

Complaint.

        7.      Pursuant to the provisions of28 U.S.C. 1446(b). the Defendants are filing this

Notice ofR.e;moval within thirty (30) days of the date of service of the complaint.

        8.      Pursuant to 28 U.S..C. §B32(a). tile United States In.strict Court has original

jurisdiction ever this case if the citizenship of all parties is wmpletely diverse and the amounts m

controversy exceed $75,000.00, exclusive ofint~rest and costs.

        9.      De(endants have ia _goof faith belief that the amount in conttoversy exceeds

$75,000.

        10.     !n terms of specific damages, Plaintiff, Antwaun Young pleads that ne SQStained

serious and permanent injuries, including: unspecified internal injuries, and severe shock to his

entire nervoµs system (,10 of the Complaint), which resulted in loss of earnings ID:ldl or earning

capacity. (V5).

        11.     Additionally. Plaintiff.
                                   \
                                         Antwaun Young. pleads·that he sustained an aggravation

and exacerbation of injuries in this motor vehicle accident (121)

        12.      Pursuant to 28 U.S. C. §1441 (a). venue properly lies in the Eastern District of
    Penn:sy lJVania.
        Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 3 of 17



       13.     Pursuant to 28 U.S.C. §1446(d). the moving Defendants will simulta:nem1siy tile a

copy of this l'Notice of R~movaJ with the Prothonotary. oft~ Court of Common Pleas of

Philadelphia ~ounty, and wiU serve a copy of same em all ad;verse parties.

       WHEREFORE, the Detendants~ Buddy Schadt and JCI Jones Chemicals, Inc .• hereby

remove this action, presently pending in the Court of Common Pleas of Philadelphia: County, PA

to the United States District Court for the Ea.stem Distriet ofP¢nnsylvania.



                              By;
                                      J      Hatzell, Jr., Esquire
                                      Attorney far Defendant
                                      PA LD. # :l8548
                                      HADDIX AND ASSOCIATES
                                      One Liberty Place - .391h Floor
                                      1650 Market Street
                                      Pllilat.lelphia. PA 19103
                                      Phone: {215) 255"'.6400
                                      Fax:        (215) 933.3207
                                      e-mail: fohn.Hatzeil@AIG.. com
•.
     ...      Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 4 of 17



                          UNITED STATES DISTRICT COURT
                                                         FOH.THE
                              EASTERN DISTRICT OF PENNSYLVANL.\

     ANTWAUN'YOUNG                                              )
                                                                )
            v.                                                  )
                                                                )                     FILED
     BUDDY SCHADT                                               )
                                                                                      MAY 23 2019
           and                                                  )
     JONES CHEMICALS. INC. a/k/a                                )                  KATE BARKMANDep,CleC~erk
     JC! JONES CH~\tllCALS, INC.                                )                 By                .
     - - - - - - - - - - - - - - · - - - - - . _..,_....                 ,   _____ _,_______ -·
                                                                                             ...              ,,,




                                     Certificate of ,Service
            I ber1tby certify that a true copy of the att'ached N~)tioo of RemovaL \Vas transmitted

     electronicaliy upon the following c-0unsel of record:


            Steven L. Chung, Esquire
            151 S: l\1a:rket Street, Sqite 910
            Phil~delphia, PA 19 l 02




                                     By;
                                             J   J. Hatze1 l, Jr.,. Esquire
                                                   111
                                             Atto ey for Defendant
                                             PA tD. #·3~5'18
                                             HADDIX AND ASSOCIATES
                                                 One Liberty Place - 39th Floor
                                                 1650 rvwket Street
                                             Philadelphia. PA 19101
                                             Phone: (215) 255-64-00
                                                 Fax;      (215) '133-3207
                                             e.-mail: John.Hatzell(?f,i\lG.cQID.
,.

     Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 5 of 17




                          EXHIBIT A

                     Plaintiffs Complaint
                              Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 6 of 17
                                                                                                                          ..
               Court of Conimon Pleas of Philadelphia County                                                                       _ _ _ _ ._       For Prothc;>notary Use Onlv !Docket Number)
                              Trial Division
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                        Civil Cover Sheet ______ _l:~~et
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                   - - - ---·+--
    PLAINTIFF'S NAME                                                                                                           DEFENDANT'S NAME                                                                               I
       ANTWAUN YOUNG                                                                                                               BUDDY SCHADT
;              .                                                                                                                                                                                                         _J
; PLAINTIFF'S ADDRESS                                                                                                     l    DEFENOAAT'S ADDRESS
. 1445 GREENWOOD ~VENUE                                                                                                   ! 77 MULLOCK ROAD
· CAMDEN NJ 08103                                                                                                         I        MIDDLETOWN NY 10940

    PtAINTIFF'S NAME                                                                                                           DE:f'ENDANT'S NAME                                                                                 ',
                                                                                                                                 JONES CHEMICALS, INC., ALIAS: JCI JONES
                                                                                                                                 CHEMICALS, INC.                               I
                   - .       - -                                                                                                                                     ---------!
' PtAtNTIFF"S ADDRESS                                                                                                          DEFENDANT'S ADDRESS
                                                                                                                                 1165 RINGLING BOULEVARD
                                                                                                                                 SARASOTA FL 34236
                                                                                                                                                                                                                              j
.. -   -   -   --        --    -           -+-   -   -- - - - - - - -            ·-- -      -        ----          - - - t - - - - - - · - - - - - - - - - - - - - - - - - - - - - _ _ ___,
    PLAINTIFF'S NAME                                                                                                      ; DEFENDANT'S NAME



·------     . ----                                                           '
                                                     --·----·------- ------.+-------
 PLAINTIFF"S ADDRESS                                                         . DEFENDANrS A.DORESS




                                                          T    -                       -   .,.               -      - 'l -    -      -·   -                -   -   -   -       -
    TOTAL NUMBER OF PLAINTiiFs                                TOT AL NUMBER OF DEFENDANTS                        T COMMENCEMENT OF ACTION

                         l                                                         2
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                                                                                                                 I0       WntofSummons              0   Transfer From Other Jurisdictions
                                                     ;· ~-L __ - · - ·       -                               __ 1_ _ - - - -               ·---- -- --- -                           -       --- - - - - -
    AMOUNT IN CONTROVERSY'                            COURT PROGRAMS

                                                      0       Arb1trat1011                           0   MassTort                                   0   Commerce                               D   Settlement
    D      $50,000 00 or less                        0   Jw-y                                        0   Sav111gs Action                            0   Mmor Court Appeal                      0   Mmors
    [ii More than $50,000 OP                         [ii Non-Jury                                    0   Petition                                   0   Statutory Appeals                      D   W/D/Surv1val
                                                     D        Other.
---·                                   - +-
    CASE TYPE ANO CODE

       2V - MOTOR VEHICLE ACCIDENT

                                                                                                 -   -   -   ---------                                                              - - - - - - - - --
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    RELATt'.O PENDING CASES (LIST BY CASE CAPTION A.ND DOCKET NUMBER)                                                          Fll.ED                   ··---- ---l1sCASESUBJEcrro-·-·--- - - ·
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                                                                                                                                                                               COORDINATION ORDER?
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                                                                                                                                                        ___ _]___ _                                               ___ J
    TO THE PROTHONOTARY·
    Kindly enter my awpearance on behalf of Plamtiff7Petttioner/ Appellant: ANTWAUN YOUNG
    Papers may be served at the address set forth below.
                                       <
    NAME OF PlAINTIFF'S/PfVITIONER"S/APPELI.ANT"S ATTORNEY                                                                    ADDRESS
       S':'EVEN L. cauNG                                                                                                       STEVEN L. CHUNG
                                                                                                                               1515 MARKET STREET
    Pl-IONE NUMBER                                                 FAX NUMBER                                                   SUITE 910
       (215) 688-5777                                              (215)52~-9785                                                PHILADELPHIA PA 19102
                                                                                                                      I
I   SUPREME COURT IDENTIFICATION NO                                                                                   ' E-MA.IL ADDRESS
       78834
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    SIGNATURE OF FILING J\.TTORNEY OR PARTY                                                                           I DATE SUBMITTED
       STEVEN CHUJ1G                                                                                                  I
                                                                                                                      • Monday, May 06, 2019, 03:01 pm
                                                                                                                      I
                                                                                                 -                 --L         -             .
                                                                                 FINAL COPY (Approved by the Prothonotary Clerk)
                          ..
                        Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 7 of 17




STEVEN L. CHUNG, ESQUlRE, LLC
Steven L. Chung, Rsquire
Identification No. 78834
1515 Market Street, Suite 910                                                                                                Attorney for Plaintiff
Philadelphia, PA t9102

ANTWAUN YOUNG                                                                                                                 COURT OF COMMON PLEAS
1445 Greenwood A venue                                                                                                        PHILADELPHIA COUNTY
Camden, NJ 08 l 03
                                                                                                                              No.       IQ ()S DD I '-f~
                                               Plaintiff
               v

BUDDY SCHADT
77 Mullock Road
Middletown, NY l 0940
and
JONES CHEMICALS, INC.
a/k/a JCI JONE$ CHEMICALS, INC.
1765 Ringling Boulevard
Sarasota, FL 34:!36
                    Defendant



                                                                             CIVIL ACTION - COMPLAINT


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      .
                 Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 8 of 17




STEVEN L. CHUNG. ESQUIRE, LLC
Steven L. Chung, Esquire
Identification No. '78834
15 t 5 Market Street, Suite 91 0                               Attorney for Plaintiff
Philadelphia, PA 19102
          ----
ANTWAUN YOUNG
                          ---~--      --~----   ...   ·---'
                                                               COURT OF COMMON PLEAS
1445 GreenwoodAvenue                                           PHILADELPHIA COUNTY
Camden, NJ 08103

                          Plaintiff
                                                               No.   I Oi 05 Doi Lfl-
            v.

BUDDY SCHADT
77 Mullock Road
Middletown, NY 10940
and
JONES CHEMICALS, INC.
a/k/a JCI JONE$ CHEMICALS, INC.
1765 Ringling Boulevard
Sarasota, FL 34i36
                          Defendant


                                                          COMPLAINT

            l.     .Plaintiff, Antwaun Young. is an adult individual and resides at 1445 Greenwood Avenue,

Camden, NJ.

            2.     Defendant, Buddy Schadt, 1s an adult individual and resides at 77 Mullock Road, Middletown,

NY.

            3.     Defendant, Jones Chemicals, Inc. a/k/a JCI Jones Chemicals, Inc. (hereinafter ..Jones

Chemicals, In¢."), is a business entity with a place of business located at 1765 Ringling Boulevard, Sarasota,

FL. Upon information and belief, this defendant regularly conducts business in the county in which this action

is filed.

            4.     The below described acc1dt:nt was caused solely by the negligence and carelessness of the

Defendants a:nd/or its agents, servants, W()rkman and employee an<l was m no manner due to any act or

om1ssion on the party of the Plaintiff.



                                                                                              Case ID:   19050014
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             Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 9 of 17




        5.     At all times material hereto, Defendant, Buddy Schadt, was the permissive driver of defendant,

Jones Chemicals>! Inc. a/k/a JCI Jones Chemicals, Inc., and was acting in the course and scope of his

employment and defendant, Jones Chemical, Inc., is vicariously liable for the actions or failure to act of its

agent, servant, workman or employee, Buddy Schadt.

        6.     0l'1 or about May 24, 2017, Plaintiff, Antwaun Young, was the occupant of a motor vehicle that

was on US-22, Whiteha11, PA, when his vehicle was rear-ended by a vehicle operated by defendant, Buddy

Schadt, causing the Plaintiff to suffer severe and permanent injuries.

        7.     The above described accident was caused solely by the negligence andlor carelessness of the

Defendant and was in no manner due to any act or omission on the part of the Plaintiff.

                                          COUNT I - Negligence
                          Plaintiff, Antwaun Young v. Ocfendnnt, Buddv Schadt

        8.     Plaintiff, Antwaun Young. incorporates herein by reforence the allegations contained in the

above paragraphs as though the same were herein set forth at length.

        9.     The aforesaid accident was caused by the negligence and/or carelessness of the defendant,

Buddy Schadt, which consisted, inter alia, of:

               u..     operating the vehicle at an excessive rate of speed under the circumstances;

               lb.     failing to have the vehicle under proper i:md adequate control;

               c       failing to apply the brakes in time to avoid a collision;

               d.      failing to operate the vehicle in accordance with existing traffic conditions and traffic

                      controls;

               e.      operating the vehicle in a negligent and careless manner;

               f.      failing to keep a reasonable lookout for other lawfully vehicles on the road;

               g       foiling to have the vehicle under proper and adequate control;

               h.      failing to mamtain a safe distance;

               L       rear-ending plaintiffs' vehicle.


                                                                                                Case ID:   19050014.
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                :•   5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 10 of 17




                  j.     violating applicable provisions of the motor vehicle code of the Commonwealth of

                         Pennsylvania and such other statutes and case law governing the operation of motor

                         vehicles on the streets and highways.

         10.      As a direct and prox1mat1: result of the aforesaid negligence of defendant, Buddy Schadt,

plaintiff, Antwaun Young, suffered severe and permanent injune:- to the body.

         l l.     ASI a direct and proximate result of the aforesaid negligence of defendant, Buddy Schadt,

plaintiff: Antwaut1 Young, suffered internal injuries of an unknown natme, suffered severe aches, pains and

anguish and a severe shock to the entire nervous system and other injuries the full extent of which is not yet

known.

         12.      As a direct and proximate result of the aforesaid negligence of defendant, Buddy Schadt,

plaintiff, Antwaun Y0tmg,    sustam~d   an aggravation and exacerbat1on of injuries both known and unknown.

He has in the pa$t and will in the future undergo severe pam and suffering as a result of which he bas been in

the past and wiU in the future be unable to attend to his usual duties and affairs, all to his great financial

detriment and Io·ss.

         13.      As a direct and proximate result of the aforesaid negligence of defendant, Buddy Schadt,

plaintiff, Antwa~m Young, has been compelled m order to effectuate a cure for the aforesaid injuries, to expend

large sums of n)oney for medicine and medical attention and may be required to expend additional sums for

the same purpo$e in the future

         14.      l\.s a direct and prox unate result of the aforesaid negligence of defendant, Buddy Schadt,

plamtift: Antwaun Young, has been prevented from attending to his usual daily activities and duties, and may

be so prevented for an indefinite period of time in the future, all to his great detriment and loss.

         15       As a direct and proximate result of the aforesaid negligence of defendant, Buddy Schadt,

plaint1tf, Antwiiun Young, has suffered physical pain and mental anguish and humiliation and may continue to

suffer the sarn¢ for an indefinite period of time in the future.



                                                                                                  Case ID:   19050014~
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        \         Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 11 of 17




            16.       As. a direct and proximate result of the aforesaid negligence of defendant, Buddy Schadt,

plaintiff, Antwaun Young, has suffered lost wages.

            WHEREFORE, plaintiff~ Antwaun Young, demands judgment in her favor and against defendant(s),

in a sum in excess of Fifty Thousand Dollars ($50,000) plus costs, delay damages, pre and post judgment

interest, attorney fees, and all other relief provided by law.

                                                COUNT II - Negligence
                             Phtintiff, Antwaun Young v. Defendant, Jones Chemicals, Inc.

            17. Plaintiff, J\ntwaun Young. mcorporates herem by reference the allegations contained in the above

                  paragraphs as though the same were herein set forth at length.

            18.       T.he aforesaid accident was caused by the negligence and/or carelessness of the defendant, Jones

Chemicals, Inc. 1 and/or its agent, servant, workman or employee which consisted, inter alia, of:

                     C(.     operating the vehicle at an excessive rate of speed under the circumstances;

                     ~.      failing to have the vehicle under proper and adequate control;

                     ¢.      failing to apply the brakes in time to avoid a collision;

                     d       failing to operate the vehicle    111   accordance with existing traffic conditions and traffic

                             controls;

                     re.     operating the vehicle in a negligent and careless manner;

                     if.     failing to keep a reasonable lookout for other lawfully vehicles on the road;

                     g       faihng to have the vehicle under proper and adequate control;

                     h.      failing to maintain a safe distance;

                     i.      rear-endi-!lg plaintiffs' vehicle .

                     .J.     violating applicable provisions of the motor vehicle code of the Commonwealth of

                             Pcnnsylvarna anct such other statutes and case law governing the operation of motor

                             vehicles on the streets and highways.

            19.      As a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,


                                                                                                            Case ID: 19050014
   ,.
                  Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 12 of 17




lnc., plaintiff: Antwaun Young, suffered severe and permanent mjunes to the body.

        20.         As a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,

Inc., plaintiff, Antwaun Young, Sl.1ffered internal injuries of an unknown nature, suffered severe aches, pains

and anguish and a severe shock to the entire nervous system and other injuries the full extent of which is not

yet known.

        21.         As a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,

Inc., plaintiff, Antwaun Young, sustained an aggravation and exacerbation of injuries both known and

unknown. He has in the past and will in the future undergo severe pain and suffering as a result of which he

11as been   111   the past and will in the future be unable to attend to his usual duties and affairs, all to his great

financial detrimqnt and loss.

        22.         AlS a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,

Inc., plaintiff, A~'ltwaun Young, has been compelled in order to effectuate a cure for the aforesaid injuries, to

expend large suJ!Ds of money for medicine and medical attention and may be required to expend additional

sums for the same purpose in the future.

        23.         As a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,

Inc., plaintiff, Antwatm Young, has been prevented from attending to his usual daily activities and duties, and

may be so prevented for an indefinite period of time m the future, all to his great detriment and loss.

        24.         As a direct and proximate result of the aforesaid negligence of defendant, Jones Chemicals,

inc., plaintiff, Antwaun Young, has suffered physical pain and mental anguish and humiliation and may

continue to suf~r the same for an indefimte period of time in the future.

        25.         As a direct and proximate. result of the aforesaid negligence of defendant, Jones ,Chemicals,

Inc., plaintiff, Antwaun Young, has suffered lost wages




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                Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 13 of 17




             WHEREFORE, plaintiff, Antwaun Young, demands judgment in her favor and against defendant(s),

     in a sum in excess of Fifty Thousand Dollars ($50,000) plus costs, delay damages, pre and post judgment

     interest, attorney fees, and all other relief provided by law.




                                                     STEVEN L. CHUNG, ESQUIRE, LLC


                                                     BY:                IS/
                                                            Steven L. Chung, Esquire
                                                            Attorney for Plaintiffs




                                                                                               Case ID·   19050014:
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               ..   Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 14 of 17




                                                VERIFICATION



                    I,

       in the attached
                         M~         Y:rr-··---•
                          Cv.7le:A ~ ·--------
                                                               deposes and says that the statements made

                                                                      are true and correct, and understands

       that false sta;tements herein are made subject to the penalties of 18 Pa.C.S. § 4904, relating fo

       unsworn falsification to authorities




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       Date:




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l. (a) PLAINTIFFS                                                                                                                 fiEFENllANTS                                            •    A
ANTWAUN YOUNG                                                                                                                   BtJDDV SCHADT AND JONES CHE9!fls. INC
                                                                                                                                JC1 JONES CHEMICALS. INC.




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~v.en         t:
        Clfong, Esquire I. Steven L. bhurtg.                                                                                    .klhrl J. Hatz~ll. Jr , Esqµire I H~ddf)t
H515'Marnet Street, S1.titfi 91'0~ Phfladefphia. PA                                                                             1660 Pvtarket Street. 39th Fl PhlJadelp".-~
{215) 688-5777                                                                                                                  (11$) 255-6400
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                                                        Plaintiff claims: he was- in·ureti lo a motor vehlc!e accideht.
VU. REQtJESTED IN                                      :J      CJ.Ir.Cl\ u   nn,..i; rs;\ 0..ASS ACTION                     DEMAND s                                         CHECK YES ooly if ..temnmle
    COMPLAINT.:                                                UNtlER RULE lLF R.C\• P                                                                                       Jt:m l>E~tA.~D!                   b v
Vlll. RELATED CASpt(S)
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                              Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 16 of 17
                                                                 CNITED ST ATES DISTRIC1 COt:Rl
                                                           FOR THE EASTER"i DISTRICT OF PENNSYLVANIA
                                                                                                                                                                  2291
                                                                                DESIGNATION FORM
                         (to be used by counsel or pro se plamttff to Indicate the category of the case for the purpose of asszgnme'!t to the appropriate calendar)

Address of Plaintiff:
                                                      Antwaun Young, 1445 Greenwood Ave., Camden, NJ 08103
                                                          Is. Inc., 1765 R1nghng Blvd. Sarasota. FL 34235. Buddy Schadt, 77 Mullock Road, Middletown. NY 19040
Address of Defendant:

Place of Accident, Inci
                                                                                                        US-22, Whitehall, PA


RELATED CASE, IF AN)':

Case Number'                                                           Judge.                                                        Date I erminated   -     -     -   -    -
                     -    -     -       +--

Civil cases are deemed rel~ted when Yes 1s answered to any of the followmg questions

       ls this case related to )Jroperty mcluded m an earlier numbered smt pending or withm one year                                    YesD                Noll]
       prev10usly terminated action m this court"

2      Does this case mvolvi: the same issue of fact or grow out of the same transaction as a pnor suit                                 YesD                Noll]
       pendmg or within on¢ year previously termmated action m this court?

3      Does this case mvolvi: the validity or mfringement of a patent already m smt or any earlier                                      YesO                No[l]
       nUlllbered case pendl(lg or Withm one year previously termmated action ofth1s court"

4.     ls this case a second (>r successive habeas corpus, SOCaalnty appeal, or pro se ClVli nghts                                      YesD                No [ l ]
       case filed by the sam¢ md1v1dual"

I certify that, to my knowledge, the Withm case               0     is I      · not    related to any case now pendmg or Withm one year prev10usly termmated action m
this court except as noted ~hove.

DA TE        05/23/201 ~ • _ _                                                                                                                          38548
                                                                                                                                                Attorney l D # (if appflcable)


CIVIL: (Plarr a '1 in one ca~egory only)

A.             Federal Question, Cases:                                                           B.    Diversity Jurisdiction Cases.

D       t. Indemnity Cont,tact, Marme Contract, and All Other Contracts                           01          Insurance Contract and Other Contracts
0 2
                                                                                                  ~     ;
           FELA                                                                                               Airplane Personal In1ury
03


                                                                                            iu
           Jones Act-Personal Injury                                                                          Assault, Defamat10n
0      4 Antitrust                                                                                      4     Marme Personal Injury

8D ~       Patent
           Labor-Management Relations
                                                                                                              Motor Vehicle Personal Injury
                                                                                                              Other Personal In1ury (Please specify)


                                                                                            GD9
       1. Civil Rights                                                                                        Products Liab1hty
D      s Habeas Corpus                                                                                        Products Liability - Asbestos

B
0
  io       Securities Act($) Cases
           Social Secunty,Rev1ew Cases
       tt. All other Fede$! Question Cases
                                                                                                              All other Diversity Cases
                                                                                                              (Please specify)   _      _

               (Please specify)     >




                                                                                 ARBITRATION CERTIFICATION
                                                       (!he effect of this certificatwn 1s to remove the case from elzgzbzilty for arburallon)

l,_                                                               , counsel of record or pro se plamt1ff, do hereby certify



     D         Pursuant to Lol;al ClVll Rule 53 2, § 3(c) (2). that to the best of my knowledge and belief, the damages recoverable in this clVll action case
               exceed the sum of$150,000 00 exclusive of mterest and costs


     D         Relief other than monetary damages is sought
                                                                                                                                                 MAY 23 2019.
DATE
                                                                                Attorney-at· Law t Pro Se Plaintiff                             Attorney ID   #   (if applicable)

NOTE A tnal de novo wilij be a tnal by JUTY only 1fthere has been compliance with r RC P 38

C1> 609 (;, 20 J8)
       Case 5:19-cv-02291-GJP Document 1 Filed 05/23/19 Page 17 of 17

                                                                                         APPENDIX I
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                   CASE MANAGEMENT TRACK DESIGNATION EORN

      ANTWAUN YOUNG                                                          ClVll ACTION

                       v.
      BUDD"{ SCHADT AND JONES
      CHEM!CALS,      INC.      A/K,/A
                                                  .
                                                      •
                                                                             Nol9            229 1
     JCI ¢HEMICALS J;NC.
In accorda1;1ce with the Civil Justice Expense and Delay Reduction Plan <>f this cou~ counsel for
plaintiff shal:l complete a case. Management,Track Designation Form in -all civil cases at the timt of
filing tbe c1!>tnplaint and'5Crve'a copy on all defendants. (See§: l :03 ofthe plan set forth on the'rev~
side of thiS form.) In the event that a defendant, does no' agree with the pJaintiff regarding said
designation, that defendant shati with its fu:st appeatancl\ submit to the clerk of court and serve on
the plainti!li and all other. patties,. a ·case management track Gcsignation form specifying the track to
which that: defendant bc!icves the Case' shQuld be assigned.

SELECT ONE OF THE FOLLOWrN'G CASE MANA.CEMENT TRACKS:

(a)   Habea$ Corpus-Cases brougbtunder 28 U.S.C. §2241 throllglt §2255.                             ( )

(b) Social Se£Urity- Ot$es ~ting review of a decision of the Secretaey of Health
    and Ht;mmn Services denying plaintiff Social Security .Benefits                                 { )

fc) Arbi~tion - Cases requfted to be designated for arbitration under Looal Civil Rule53.2.         ( )

(d) Asbes~ - Cases inwlving claim~r for personal injury or propeey·damage fWni
   exposU'l'e to asbestos.                                                                          { )

(e) Spectai Management- Cases that do no.t fall into tl'aCks (11) through ( d) that are
   cotnm'1Jly refen:ed td as complex and that need special or intense management by
   1he court. (See reverse side of this fonn for a detailed exptanalion of special
      tnana~L~.)

(f) Standard Management·- Cases that do not fall intb any one of the other tracks.



                                                                    DEFENDANTS
n2te                                                                     Attorney· for
  215-:455-6400                  215-933-3207                     fohn.hatzell@aig.com
                                    FAX Number                        E;;.Mail AddFeQ


                                                                                  HAY 23 2019
